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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                              PORTLAND DIVISION

                                            §
KAWHI LEONARD,                              §
                                            §          Case No. 3:19-cv-01586-MO
                      Plaintiff-            §
Counterclaim Defendant,                     §          JOINT STATUS REPORT
                                            §
v.                                          §
                                            §
NIKE INC.,                                  §
                                            §
                        Defendant-          §
Counterclaimant.




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       By and through their attorneys of record, Plaintiff-Counterclaim Defendant Kawhi Leonard

(“Plaintiff”) and Defendant-Counterclaimant NIKE, Inc. (“NIKE”) have prepared and hereby

submit this Joint Status Report pursuant to the Court’s minute order dated May 18, 2020 (ECF No.

78).

       On June 2, 2020, counsel for the parties met and conferred regarding case management and

scheduling in light of the Court’s April 22, 2020 Minute Order (ECF No. 75) and its May 18, 2020

Opinion and Order (ECF No. 77), which collectively: (i) dismissed Plaintiff’s claim for declaratory

judgment with prejudice, (ii) granted NIKE’s motion for judgment on the pleadings with respect

to NIKE’s first and sixth counterclaims and (iii) denied NIKE’s motion to for judgment on the

pleadings with respect to NIKE’s second through fifth counterclaims. The parties also considered

and discussed the ongoing impact of COVID-19 on discovery and other relevant deadlines.

       Accordingly, the parties respectfully request that the discovery plan and case schedule in

this action shall be amended as set forth below.

       1.      Proposed Amended Fact Discovery Deadline

       The parties have agreed and request to extend certain discovery deadlines and propose that

the deadline for the parties to complete document productions shall be July 1, 2020 and that fact

discovery (including the taking of depositions and any third-party discovery) shall be completed

by September 15, 2020.

       2.      Parties to Evaluate and Revert to the Court Regarding Additional
               Scheduling Matters (Dispositive Motion Deadline, Expert Witnesses and
               Proposed Trial Date) on or Before the Proposed Fact Discovery Deadline

       The parties continue to evaluate the remaining claims and defenses in this action in light

of the Court’s April 22 Minute Order and May 18 Opinion and Order. The parties also continue

to discuss and explore potential settlement opportunities in parallel with their ongoing discovery

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efforts. However, the parties presently disagree regarding scheduling and case management

beyond the close of fact discovery.

       First, NIKE has stated its position that expert discovery is no longer necessary in light

claims and defenses remaining after the Court’s orders. Plaintiff submits that any determination

to forego expert discovery is premature and the testimony of expert witnesses may continue to aid

the resolution of the claims remaining in this case.

       Second, because the Court has narrowed the remaining issues in the case and because NIKE

believes the case calendar need not include an expert discovery schedule, NIKE has proposed that

the trial start date be moved forward to February 8, 2021, subject to the Court’s availability and

approval. Plaintiff does not agree at this time to a February 2021 trial date in light of the expected

usefulness of expert witness testimony as well as the existing uncertainties regarding the National

Basketball Association schedule. Plaintiff accordingly submits that the existing proposed July 12,

2021 trial date should remain in place.

       In the expectation that the parties will be able to resolve these issues and in order to avoid

unnecessary confusion and complexity by submitting competing case schedules to the Court, the

parties have agreed to revisit these scheduling and case management issues closer to the

completion of fact discovery. Accordingly, the parties intend to provide an additional status report

to the Court regarding, inter alia, whether expert witness testimony will be presented in this case

(along with a proposed amended schedule for the submission of expert reports, if applicable) and

any proposed adjustments to the dispositive motion deadline and/or the trial date by no later than

September 15, 2020.




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DATED: June 8, 2020                SULLIVAN & WORCESTER LLP



                                   By: /s/ Peter R. Ginsberg
                                          PETER R. GINSBERG
                                      Attorneys for Plaintiff Kawhi Leonard


DATED: June 8, 2020                DLA PIPER LLP (US)



                                   By: /s/ Tamar Duvdevani
                                          TAMAR DUVDEVANI
                                      Attorneys for Defendant Nike Inc.




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